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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )                  4:10CR3085
                                           )
           v.                              )
                                           )
FABIAN ANTILLON-ESTRADA,                   )       MEMORANDUM AND ORDER
                                           )
                  Defendants.              )
                                           )


    At the Defendant’s oral request and with the parties’ consent,

    IT IS ORDERED:

    1)     The defendant’s change of Plea Hearing is continued to Thursday, April 28,
           2011 at 2:00 P.M.

     2)    The ends of justice served by granting defendant’s request to change the plea
           hearing outweigh the interests of the public and the defendant in a speedy trial,
           and the additional time arising as a result of the granting of the motion, the
           time between today’s date and the anticipated plea of guilty, shall be deemed
           excluded in any computation of time under the requirements of the Speedy
           Trial Act, for the reason that defendant’s counsel requires additional time to
           adequately prepare the case, taking into consideration due diligence of counsel,
           the novelty and complexity of the case, and the fact that the failure to grant
           additional time might result in a miscarriage of justice. 18 U.S.C. §
           3161(h)(7).

    DATED this 13 th day of April, 2011.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
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